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  5 Attorneys for Party-in-Interest and Appellant Erika Girardi

  6

  7

  8                            UNITED STATES BANKRUPTCY COURT

  9               CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
 10

 11 In re                                             CACB Case No. 2:20-bk-21022-BR

 12 GIRARDI KEESE,                                    Chapter 7

 13                 Debtor.                           CACD Case No. 2:21-cv-06951-SVW

 14                                                   STIPULATION AND [PROPOSED]
                                                      ORDER EXTENDING APPELLATE
 15                                                   DEADLINES FOR 30 DAYS

 16                                                   Judge:      Hon. Barry Russell

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                       STIPULATION FOR ORDER EXTENDING APPELLATE DEADLINES
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  1               Party-in-Interest and Appellant Erika Girardi (“Appellant”), Appellee Elissa D. Miller,

  2 Chapter 7 trustee (“Appellee”), and the Law Offices of Ronald Richards & Associates, APC,

  3 ("Richards") (collectively the “Parties”), by and through their undersigned counsel, and subject to the

  4 approval of this Court, enter into this Stipulation and [Proposed] Order Extending Appellate

  5 Deadlines for 30 Days (“Stipulation”), the purpose of which is to extend pending appellate deadlines

  6 for thirty (30) days, and specifically, to extend the upcoming deadline for Appellee to designate any

  7 additional record and provide a supplemental statement of issues on appeal from September 22, 2021

  8 to October 22, 2021.

  9               This Stipulation is based on the following facts:
 10               1.     On August 25, 2021, Appellant filed her Notice of Appeal and Statement of
 11 Election with the Clerk of the Bankruptcy Court in the above entitled action with Case No. 2:20-

 12 bk-21022-BR, thereby appealing this Court’s August 11, 2021 Order and concurrently filed

 13 Memorandum of Decision Denying Party-in-Interest Erika Girardi’s Motion for Reconsideration

 14 of Order Granting Chapter 7 Trustee’s Application to Employ the Law Offices of Ronald Richards

 15 & Associates, A.P.C. as Special Litigation Counsel (the “Appeal”).

 16               2.     On September 8, 2021, Appellant filed her Designation of Record, Statement of
 17 Issues on Appeal, and Notice Regarding the Ordering of Transcripts with the Clerk of the

 18 Bankruptcy Court.

 19               3.     The Parties, through counsel, have met and conferred about the Appeal, including
 20 on August 31, 2021 and September 24, 2021. In these discussions, to facilitate a potential

 21 consensual resolution of the issues raised by the Appeal, the Parties agreed to continue all current

 22 and pending deadlines related to the Appeal by thirty (30) days. Specifically, the next deadline is

 23 on September 22, 2021, for Appellee to file a supplemental designation of record and

 24 supplemental statement of issues related to the Appeal, which the Parties have agreed to extend to

 25 October 22, 2021.

 26               4.     Based on the foregoing, the Parties to this Stipulation hereby stipulate and agree to
 27 extend the deadline to file a supplemental designation of record and statement of issues to October

 28 22, 2021.

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  1               IT IS SO STIPULATED.

  2
      DATED: September ___,
                        21 2021              GREENBERG GROSS LLP
  3

  4

  5                                          By:
                                                   Evan C. Borges
  6                                                Attorneys for Party-in-Interest and Appellant Erika
                                                   Girard
  7

  8
      DATED: September ___, 2021             SMILEY WANG-EKVALL, LLP
  9

 10
                                             By:
 11
                                                   Phillip E. Strok
 12                                                Kyra E. Andrassy
                                                   Timothy W. Evanston
 13                                                Attorneys for Appellee Elissa D. Miller, Chapter 7
                                                   Trustee
 14

 15
                       21 2021
      DATED: September ___,                  LAW OFFICES OF RONALD RICHARDS &
 16                                          ASSOCIATES, APC
 17

 18
                                             By:
 19                                                Ronald Richards

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                          STIPULATION FOR ORDER EXTENDING APPELLATE DEADLINES
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  1                                           [PROPOSED] ORDER

  2               Pursuant to the Stipulation for Order Extending Appellate Deadlines for 30 Days, and good

  3 cause appearing, IT IS HEREBY ORDERED that:

  4                  1. The deadline to file a supplemental designation of record and supplemental

  5 statement of issues is extended from September 22, 2021 to October 22, 2021.

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                                                       Barry Russell
 10                                                    United States Bankruptcy Judge
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                            STIPULATION FOR ORDER EXTENDING APPELLATE DEADLINES
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  1                             PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is:
  3
                                           650 Town Center Drive, Suite 1700
  4                                             Costa Mesa, CA 92626

  5   A true and correct copy of the foregoing document entitled (specify): STIPULATION AND [PROPOSED]
      ORDER EXTENDING APPELLATE DEADLINES FOR 30 DAYS will be served or was served (a) on the
  6   judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

  7   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  8   hyperlink to the document. On September 21, 2021, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
  9   List to receive NEF transmission at the email addresses stated below:

 10
                                                                 Service information continued on attached page
 11
      2. SERVED BY UNITED STATES MAIL:
 12   On September 21, 2021 I served the following persons and/or entities at the last known addresses in this
      bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
 13   in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
      constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
 14   document is filed.

 15
                                                                 Service information continued on attached page
 16
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
 17   (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
      September 21, 2021, I served the following persons and/or entities by personal delivery, overnight mail
 18   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
 19   mail to, the judge will be completed no later than 24 hours after the document is filed.

 20
                                                                 Service information continued on attached page
 21
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 22
        September 21, 2021 Cheryl Winsten
 23     Date                      Printed Name                   Signature

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  1                                     In re GIRARDI KEESE
                                       Case No. 2:20-bk-21022-BR
  2                                U.S.B.C. Central District of California
                                          Los Angeles Division
  3
      1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING:
  4
      The following is the list of parties who are currently on the list to receive email notice/service for
  5 this case.
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 24 Costa Mesa, CA 92626
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 11 U.S. Bankruptcy Court
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